                 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 1 of 21 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)           ‫ ܆‬Original    ‫ ܆‬Duplicate Original


             LODGED
      CLERK, U.S. DISTRICT COURT
                                         UNITED STATES DISTRICT COURT
      9/25/2023                                           for the
   CENTRAL DISTRICT OF CALIFORNIA
                 CD
    BY: ____________BB______ DEPUTY


                                               Central District of California
                                                                                                 9/25/2023
 United States of America
                                                                                                        ts
                              v.
                                                                     Case No. 2:23-mj-04908-DUTY
 JONATHAN LIPMAN,

                              Defendant(s)


                                       CRIMINAL COMPLAINT BY TELEPHONE
                                      OR OTHER RELIABLE ELECTRONIC MEANS

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of February 1, 2023 in the county of Los Angeles in the Central District of California,

the defendant(s) violated:

                Code Section                                        Offense Description

                18 U.S.C. § 875 (c)                                 Threat by interstate communication

           This criminal complaint is based on these facts:

             Please see attached affidavit.

           _ Continued on the attached sheet.


                                                                              /S/ Jacob Tomes, Special Agent FBI
                                                                                    Complainant’s signature

                                                                            Jacob Tomes,, Special
                                                                                           p      Agent
                                                                                                   g FBI
                                                                                    Printed
                                                                                    Printe
                                                                                        tedd name
                                                                                        te   naame and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim.
                                                                             Crim
                                                                             Cr im. P.
                                                                                im  P. 4.1 by telephone.

 Date:
                                                                                       JJudge’s
                                                                                        Jud
                                                                                          dge’s sig
                                                                                                signature
                                                                                                 i nature

 City and state: Los Angeles, California                            Hon. Stephanie Christensen, U.S. Magistrate Judge
                                                                                    Printed name and title



AUSA: Alix McKenna (x6166)
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 2 of 21 Page ID #:2



                                AFFIDAVIT

I, JACOB TOMES, being duly sworn, declare and state as follows:

                       I. PURPOSE OF AFFIDAVIT

        1.   This affidavit is made in support of a criminal

complaint against Jonathan LIPMAN (“LIPMAN”) for a violation of

18 U.S.C. § 875(c): threat by interstate communication.

        2.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only, all amounts

or sums are approximate, and all dates and times are on or about

those indicated.

                       II. BACKGROUND OF AFFIANT

        3.   I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since February

2023.    I am currently assigned to a criminal threats squad

located at the Joint Regional Intelligence Center in Norwalk,

California.    While assigned to the criminal threats squad, I

have investigated crimes such as threats, stalking, harassment,

and school shooting threats.      I have developed expertise in

assessing threats to determine their validity, seriousness, and
imminence.
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 3 of 21 Page ID #:3



     4.   I have been employed as a sworn law enforcement

officer for five years, serving with the City of Fullerton

Police Department, City of Menifee Police Department, and the

Federal Bureau of Investigation.       As a sworn Police Officer and

FBI Special Agent, I have investigated a wide range of crimes to

include narcotics trafficking, kidnappings, firearms violations,

gang crimes, court order violations, sex crimes, elder and child

abuse, homicides, robberies, attempted murder, and others.            I

have led numerous investigations in which I have prepared search
warrant affidavits and successfully led the authorized searches

at various locations.

                   III. SUMMARY OF PROBABLE CAUSE

     5.   In May of 2022, Jonathan LIPMAN (“LIPMAN”), a Los

Angeles resident, posted threatening content on a Facebook page

belonging to the Lacey Township Police Department (“LTPD”) in

the State of New Jersey from an account under his own name.            As

a result, LTPD filed for a temporary extreme risk protective

order to prevent LIPMAN from possessing firearms.          On July 8,

2022, Lacey Township Municipal Court Judge Benjamin Mabie signed

the temporary order.     The following day, a Los Angeles Police

Department (“LAPD”) officer served the order on LIPMAN at his

residence in Los Angeles, California.        On January 31, 2023, New

Jersey Superior Court Judge Kim Marie Rahill signed a Final

Extreme Risk Protective Order, which succeeded the temporary

order and prohibited LIPMAN from possessing firearms.

     6.   Beginning on or around February 1, 2023, LIPMAN
started sending hundreds of harassing and threatening emails to


                                       2
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 4 of 21 Page ID #:4



New Jersey public officials, including Lacey Municipal Judge

Mabie, Oceanport Municipal Judge Patti, Lacey Township Official

Bruce Padilla, Ocean Superior Court Judge Rahill, and several

others.    In many of these emails, LIPMAN wrote in explicit

detail how LIPMAN hoped the aforementioned public officials

would die painful, gruesome, and violent deaths.

     7.     In one email that LIPMAN sent on February 1, 2023,

LIPMAN sent Judge Rahill a picture of what appeared to be a

lever action shotgun.     The Subject Line of the email read “Is a
photo illegal?” and the body of the email was blank, other than

the picture of the gun and a winky face emoji: “ ;) ”.

     8.     On July 13, 2023, LAPD Detective Cao made contact with

LIPMAN at his residence in Los Angeles and spoke to him

regarding the threatening emails he had been sending.           LIPMAN

told Detective Cao that he would continue to send emails.           Less

than two weeks later, LIPMAN sent Judge Rahill another 11

threatening emails explaining how he would like to see her die.

As of September 22, 2023, LIPMAN had sent approximately 400

emails to the aforementioned public officials, a majority of

which contain content that is threatening, violent, and/or

harassing in nature.

     9.     On September 7, 2023, special agents obtained a

warrant (2:23-MJ-04563) to search LIPMAN’S residence in Los

Angeles.    The warrant was executed on September 15, 2023.

During the search of LIPMAN’S residence, a Samsung T7 memory

device was seized which contained email records sent from the
account jlipman52@gmail.com, one of the email addresses


                                       3
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 5 of 21 Page ID #:5



previously used to send harassing messages to New Jersey

officials.    Several documents were also seized, one of which

contained the writing: “If I want to put Judge Kimarie Rahill’s

head on a mantle all I need is a photo of her and a picture

frame.”

     10.     During the search of LIPMAN’S residence, SA Tomes

advised LIPMAN that the communications sent by LIPMAN to New

Jersey public officials were likely a violation of federal law

and that all communications from LIPMAN to the involved public
officials needed to cease.      Despite this advisement, LIPMAN sent

a series of 6 emails to Judge Rahill, Judge Mabie, Judge Patti,

and other recipients on September 21, 2023, from the email

address jlipman52@gmail.com.      On September 22, 2023, LIPMAN sent

an additional series of 10 emails to Judge Rahill, Judge Mabie,

Judge Patti, and the federal judge who ordered the search

warrant of LIPMAN’S residence, again from the email address

jlipman52@gmail.com.

                    IV. STATEMENT OF PROBABLE CAUSE

     11.     The information below is based on my review of law

enforcement reports, conversations with other law enforcement

agents, and my own knowledge of the investigation.

     A.      Background: LIPMAN Begins Harassing New Jersey
             Officials with Violent Emails

     12.     On July 7, 2023, I was assigned a criminal threats and

stalking case which had been reported to the FBI by the New

Jersey Court and Judicial Security Unit (“New Jersey Court
Security”).    I spoke to and received documents from several



                                       4
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 6 of 21 Page ID #:6



individuals at the New Jersey Court Security including Chief

Robin Morante, Judicial Risk Assessment Manager James Pisano,

and Security Programs Coordinator Katherine Grzeda.          I reviewed

a report authored by New Jersey State Police Department (“NJSP”)

Detective D. Harrison who had been investigating LIPMAN for the

same series of ongoing criminal threats and stalking conducted

by LIPMAN against several public officials in New Jersey.

     13.   I know from my conversations with New Jersey Court

Security personnel and review of documents provided by NJSP and
New Jersey Court Security that around May 3, 2022, a user with

the name “Jonathan Lipman” posted threatening content on the

Facebook page belonging to the Lacey Township Police Department

(“LTPD”) in the State of New Jersey.       In these Facebook posts,

Lipman made statements such as “You and your officers an[d]

their families will regret your continued cover up”, “Gary quinn

doesn’t belong on a plaque. He belongs on someones mantle”,

“They and their families lives don’t matter. The world would be

better off it officers like Dallas Gant were removed from the

planet,” and “Their children will pay.”

     14.   I know, based on my review of the Extreme Risk

Protective Order, that LTPD subsequently filed for a Temporary

Extreme Risk Protective Order in the State of New Jersey, which

was signed by Lacey Township Municipal Court Judge Benjamin

Mabie on July 8, 2022.     The protective order required LIPMAN to

surrender any firearms and ammunition in his possession and

prohibited LIPMAN from purchasing any additional firearms.




                                       5
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 7 of 21 Page ID #:7



     15.   I know, according to New Jersey Court Security

personnel, that during court proceedings for the Extreme Risk

Protective Order, LIPMAN was residing in Los Angeles, California

and was attending online virtual court hearings.          LIPMAN had

previously been a resident of New Jersey.

     16.   I know, based on my conversations with New Jersey

Court Security and Los Angeles Police Department officers, that

once the temporary order was granted, New Jersey Court Security

sent service documents to LAPD.       LAPD Officer T. Nguyen served
LIPMAN with the Extreme Risk Protective Order at his residence

located at 1247 Amherst Avenue, Apartment 1, Los Angeles, CA

90025 on July 9, 2022.     A search for firearms was not conducted

and LIPMAN did not surrender any firearms to LAPD at that time.

     17.   A California DMV records check revealed that LIPMAN

has a 2014 Hyundai with a license plate number of 7FZF800

registered to him with an address of 1247 Amherst Avenue,

Apartment 1, Los Angeles, CA (i.e., the Subject Premises).

     18.   I know based on my review of the Final Extreme Risk

Protective order that the Final Extreme Risk Protective Order

was granted and signed by Superior Court Judge Kim Marie Rahill

on January 31, 2023.     This Final Extreme Risk Protective Order

was granted to supersede and replace the previous Temporary

Extreme Risk Protective Order.      As of the date of this filing,

the restraining order is current and will remain in place

indefinitely until or unless a petition is filed by LIPMAN to

vacate the order.    I know based upon my review of email
correspondence between LIPMAN and Erin Caulfield that LIPMAN


                                       6
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 8 of 21 Page ID #:8



received notice of his court hearings and was provided with

instructions on how to participate in the virtual court

hearings.

     19.    I know based on my conversations with New Jersey Court

Security personnel and review of emails that after the court

proceedings for the protective order, LIPMAN began sending an

extensive series of emails to several public officials, court

employees, judges, and LTPD police officers.

     20.    LIPMAN emailed1 threatening messages directly to or

mentioned the following individuals in the emails: Ocean

Superior Court Judge Kim Marie Rahill, Lacey Municipal Judge

Benjamin Mabie, Ocean County Commissioner Gary Quinn, Attorney

Bruce Padula, Probation Officer Erin Caulfield, Municipal Court

Judge John Patti, Oceanport Police Chief Michael Kelly, LTPD

Police Officer C. Kenney, LTPD Police Officer D. Gant, and other

miscellaneous individuals. I was provided with copies of

approximately 400 of these emails by New Jersey Court Security

and have reviewed them. LIPMAN sent these emails from several
email accounts to include jlipman52@gmail.com,

rentpoetfraud@gmail.com, ocjudgesarecapitalistliars@gmail.com,

and laceyviolatesconstitution@gmail.com.

     21.    In many of these emails, LIPMAN either included the

signature “Jonathan Lipman” in the body of the emails, mentioned


     1 As detailed below, I know that LIPMEN sent these emails
because I received them from New Jersey Court security and have
reviewed them. Many of the emails were personally signed and a
records check of the emails showed that he was the subscriber
for two of the emails accounts, including jlipman52@gmail.com,
the primary account he used to send the emails.

                                       7
 Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 9 of 21 Page ID #:9



“Jonathan Lipman” by name, responded to official court

correspondence, or in one instance sent a photograph of himself

in the email, indicating that the email addresses belong to

and/or were operated by LIPMAN.       Specifically, LIPMAN emailed

Judge Rahill approximately 6 times on February 4, 2023,

approximately 3 times on March 28, 2023, approximately 11 times

on July 23, 2023, and on several other dates.         LIPMAN also

emailed Judge Patti, Chief Kelly, Bruce Padula, and other

recipients approximately 96 times on July 25, 2023 and Officers
Kenny and Gant approximately 32 times on July 9 and 10 of 2023.

LIPMAN sent hundreds of other emails to these recipients and

others from approximately February 1, 2023 up to at least

September 22, 2023.    LIPMAN’s initial emails contained

explanations as to why LIPMAN felt his constitutional rights had

been violated by the aforementioned individuals during his

Extreme Risk Protective Order court proceedings. As described

below, the emails quickly turned threatening in nature and

included graphic and violent descriptions of how LIPMAN prayed,

desired, wished, and fantasized for the aforementioned

individuals to die.

     B.    LIPMAN Threatens New Jersey Judge Rahill on February
           1, 2023

     22.   On February 1, 2023, LIPMAN sent an email to Judge

Kimarie Rahill from the email address “jiplman52@gmail.com” with

the subject line “Is a photo illegal?”        The body of the email

only included the text “ ;) ” (winking emoticon) and a picture




                                       8
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 10 of 21 Page ID #:10



of what appears to be a lever action shotgun. The following is

the photograph that was sent:




The email was signed “Jonathan Lipman” at the end of the email.

Based on my training and experience, the firearm in the

photograph appeared to be real with no features to indicate that

the firearm was fake; however, it is impossible to determine

without physically examining the firearm and Lipman later told

law enforcement officers that it was not real.         A reverse image


                                       9
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 11 of 21 Page ID #:11



search of the shotgun was conducted by SA Tomes and received

negative results, indicating that LIPMAN had likely taken the

photograph of the shotgun himself.       Judge Rahill received the

disturbing email which was subsequently forwarded to New Jersey

Court Judicial Security Unit.

     23.    According to New Jersey Court Security, on the same

day that LIPMAN sent the email to Judge Rahill depicting the

firearm (February 1, 2023), LIPMAN also left a voice message on

Erin Caulfield’s telephone, stating that the message was for

Caulfiend and Judge Rahill and saying, “it’s a shame there are

kids that get shot up in schools instead of you people.”

     24.    I know from a report authored by NJSP Detective

Harrison that around February 1, 2023, Detective Harrison

interviewed LIPMAN via LIPMAN’s telephone.         Detective Harrison

indicated in his report that LIPMAN’S phone number was (609)

618-2597.   Detective Harrison asked him about the picture of the

shotgun LIPMAN had emailed to Judge Rahill.         LIPMAN told

Detective Harrison that he was exercising his first amendment

rights, that firearm seen in the image was just a “prop”, and

that LIPMAN does not own firearms.       LIPMAN sent Detective

Harrison a copy of LIPMAN’s California Driver’s License and

confirmed his identity.

     C.     LIPMAN Continues to Harass Government Officials with
            Violent Emails after the February 1 Threat

     25.    According to New Jersey Court Judicial Security Unit

reports, around February 23, 2023, Judge Rahill’s neighbor
(E.O.), received a voicemail from LIPMAN using telephone number


                                       10
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 12 of 21 Page ID #:12



(609) 618-2597 that stated, among other things, “I don’t know if

you are Kimarie Rahill’s neighbor but if you are you are in

danger. She has violated my rights and will do the same to you.

She also does not believe in the constitution, which is also a

danger”. LIPMAN has no known association with E.O.          New Jersey

Court Security expressed concern that LIPMAN appeared to be

researching the home address of Judge Rahill and her neighbor,

and subsequently made an unsolicited phone call to E.O.

According to NJSP reports, the telephone number (609) 618-2597
was verified to be LIPMAN’S telephone number based upon NJSP’s

prior contact telephonic contact with LIPMAN.

     26.   Around February 27, 2023, Carol Smith; the court

administrator for Judge Patti, along with James Butler and Bruce

Padula, all received an email from LIPMAN sent from the email

address jlipman52@gmail.com containing a photograph of LIPMAN

with a white rope noose around his neck. In the photograph,

LIPMAN is seen holding an iPhone. The email contained the

signature “Jonathan Lipman”.

     27.   Around March 28, 2023, LIPMAN sent Judge Rahill three

emails from the email address jlipman52@gmail.com. In one of the

emails, LIPMAN wrote “But as you struggle to breath or what ever

consequence your selfish little life befalls you body and

betrays your existence, you will remember me. You concerns about

where you are headed are warranted. Some call it hell”. The

email was signed “Jonathan Lipman”.

     28.   Around April 3, 2023, and April 5, 2023, LIPMAN sent
approximately 8 emails from the email address


                                       11
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 13 of 21 Page ID #:13



jlipman52@gmail.com to various recipients including Judge

Rahill, Chief Kelly, Judge Patti, and Bruce Padula. In one email

sent to Chief Kelly, Bruce Padula, John Patti, and others,

LIPMAN wrote “just saying the world would be better off if you

and your children were kidnapped, imprisoned, and then put in a

gas chamber”.   Several of these emails were signed “Jonathan

Lipman” in the body of the emails.

     29.   Around April 7, 2023, an email titled “Bigoted Judges

the world would be better off being removed from existence” was
sent to Judge Rahill and several other recipients from the email

address ocjudgesarecapitalistliars@gmail.com.         The author refers

to Jonathan Lipman several times in the body of the email and

writes in the same style as LIPMAN’S other emails. For these

reasons, it is believed LIPMAN is the author of this email. In

the email, the author writes “We are watching you judges” and

“You will regret it.”

     30.   Around June 7, 2023, and June 30, 2023, LIPMAN sent

approximately 17 emails from the email address

jlipman52@gmail.com to various recipients including Bruce

Padula, Judge Patti, and Chief Kelly. In one email sent on June

30, 2023, LIPMAN wrote “The world would be better off if Bruce

died a painful death as his wife and children helplessly

watched, I pray his blood is splattered all over his family so

they can pay for his sins too” and “Michael Kelly, I pray he is

ran over in a traffic stop. The world would be better off if

chief Michael Kelly became one with the pavement like a crushed




                                       12
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 14 of 21 Page ID #:14



bug”.    Several of these emails were signed “Jonathan Lipman” in

the body of the emails.

        31.    Around June 30, 2023 LIPMAN sent an email to Judge

Patti and other officials using the email address

jlipman52@gmail.com stating “Most of all though, the world would

be better off if John Patti was executed French Revolution style

and his head was passed around for people to fuck with. Just to

make a demonstration of what happens to people who trample on

civil right.”
        32.    Around July 9, 2023, and July 10, 2023, LIPMAN sent

numerous emails from “jlipman52@gmail.com” signed “Jonathan

Lipman” to LTPD Officers C. Kenney and D. Gant.         In these emails

LIPMAN made statements such as “Gary wuinns head will be on my

mantle. It was always going to be a bobblehead. It will be on

others mantles too”, and “This time I made threats though. Which

means as a California resident I should be charged with the

federal crime of making terroristic threats”, and “beheadings,

cancer, bullets to the head. Im not god. Its not my decision.

But whatever way that removes these terrible government

employees who would make better corpses than people i pray god

takes.”       Several of these emails were signed “Jonathan Lipman”

in the body of the emails.

        33.    Around July 13, 2023, LAPD Detective Cao made contact

with LIPMAN at his residence located at 1247 Amherst Avenue,

Apartment 1, Los Angeles, CA 90025 (i.e., the “Subject

Premises”). The address of 1247 Amherst Avenue, Apartment 1, Los
Angeles, CA 90025 is also listed as Lipman’s address on his


                                       13
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 15 of 21 Page ID #:15



California Driver’s License.      Detective Cao spoke to LIPMAN

regarding the emails being sent to New Jersey public officials.

LIPMAN stated he does not want to hurt anyone.         LIPMAN stated he

was in control but was trying hard to “not cross over the line”.

Detective Cao asked LIPMAN if he would stop sending emails to

public officials in New Jersey, to which LIPMAN stated if he was

not going to be placed under arrest, he would continue to send

emails.

     34.   Around July 23, 2023, Judge Rahill received about 11
emails sent from “laceyviolatesconstitution@gmail.com”. The

emails appeared to have been sent by LIPMAN based upon the

recipient, writing style, and nature of the emails. In the

emails, the author wrote in explicit detail about how he prays

and hopes Judge Rahill will die. In one email titled “knives

over guns”, the author stated “guns are too quick now I could be

talking about in a movie or a tv show. I could be talking about

in a book. I could be talking about a radio play”.          In another

email to Judge Rahill, the author wrote “Let us imagine

Alexander Burr, Alexander Hamilton, Patrick Henry, James

Madison, thomas paine, and John Jay, all gun owners who called

for the execution of tyrants like Kimarie Rahill, breaking into

kimarie Rahills house in the middle of the night and removing

her at gun point”, and “lets imagine kimarie rahill being

dragged to the gallows”, and “Then Kimarie Rahill is beheaded.

Her head is placed on a stick. Her limbs and body parts sold as

souvenirs.”   The author then made the statement, “Now of course
this is just a fantasy. No crime has ever been committed.


                                       14
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 16 of 21 Page ID #:16



Nothing has been threatened. No threats had even been

instituted”.

     35.   Around July 25, 2023, a series of emails was sent to

Bruce Padula, Chief Kelly, Judge Patti, and other recipients

from the email address rentpoetfraud@gmail.com. In one email,

the author writes “You will never prove Jonathan Lipman wrote

anything though.”. On the same day, the author sent several

violent and threatening emails including one email titled,

“Bruce Padula is covering a knife attack on a jewish person”. In
the body of this email, the author writes “lets imagine the

knife cutting deep as he begs and pleads to live and the person

supposed to protect him does nothing.”.        In another email sent

from rentpoetfraud@gmail.com on the same day the author writes

“but how would you all look if jonathan lipman snapped and

killed someone in a 10 years because they couldn’t handle

Monmouth, ocean and new jersey governments persecuting them for

seeking their first amendment right…”.

     36.   Around August 5, 2023, an email was sent from the

email address rentpoetfraud@gmail.com to Judge Mabie, Judge

Rahill, Officer Kenny, and various other recipients titled “A

Violent Terroristic Threat”. In the email, the author states “he

is more likely to come to ocean county than Jonathan lipman…

make sure to remove his right to own weapons. Don’t just limit

it to guns”.

     37.   Around August 9, 2023, an email was sent from the

email address rentpoetfraud@gmail.com to Judge Mabie, Judge
Rahill, Judge Patti, Chief Kelly, in which the author states


                                       15
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 17 of 21 Page ID #:17



“Jonathan lipman has a right to die as the governments martyr

just like jesus”. The author of all these emails sent from

rentpoetfraud@gmail.com wrote in the same style as other emails

sent by LIPMAN, sent the emails to the same recipients, and

mentioned LIPMAN by name in the body of the emails. For these

reasons, it is believed the author of the emails sent from

rentpoetfraud@gmail.com is LIPMAN himself.

     38.   Around August 24, 2023, Judge Patti received about 28

voicemails from the telephone number (609) 618-2597, which
according to NJSP belongs to LIPMAN. New Jersey Court Security

provided me with recordings of the voicemails, and I reviewed

them. In the voicemails, LIPMAN states repeatedly that “John

Patti is a worthless bigot” for various reasons. In several

voicemails LIPMAN states “John Patti is a worthless bigot the

world would be better off without”.         LIPMAN also explains in

several voicemails that he does not have a right to directly

threaten to harm Judge Patti, but he does have a right to say

that he hopes and wishes death upon Judge Patti.

     39.   On August 30, 2023, New Jersey Court Judicial Security

Unit Chief Robin Morante contacted SA Tomes via email regarding

an email subject Jonathan LIPMAN had sent on August 30, 2023.

The email titled "the noose(ance) around my neck" had been sent

from LIPMAN'S email address, jlipman52@gmail.com and was sent

to Judge Benjamin Mabie, Judge Kim Rahill, Judge John Patti,

Bruce Padula, Chief Michael Kelly, Commissioner Gary Quinn,

James Butler, Carol Smith, Officer c. Kenny, as well as to other
email addresses. In the email, LIPMAN sent a PDF attachment


                                       16
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 18 of 21 Page ID #:18



titled "FBILAPDrestrainingorder.pdf". The PDF contained text in

which the author writes, "I will be walking from my apartment

down Wishire boulevard to the FBI headquarters with a rope tied

around my neck as prop to force my selfish society to watch me

as I walk presumably to my death. This is specifically designed

to protest a society and its governments that would rather a

person die than admit they misconducted themselves as a person

or violated constitutional rights as a government." The email

was signed "the Hanging Stranger" at the bottom of the document.
     40.   LAPD Officers responded to LIPMAN’S residence in Los

Angeles that day to conduct a welfare check.         When LAPD officers

arrived, they made contact with LIPMAN through a security gate.

LIPMAN refused to let LAPD Officers enter the gate and did not

comply with their request to enter.

     41.   On September 7, 2023, special agents obtained a

warrant (2:23-MJ-04563) to search LIPMAN’S residence in Los

Angeles which was executed on September 15, 2023.          During the

search of LIPMAN’S residence, a Samsung T7 memory device was

seized which contained email records sent from

jlipman52@gmail.com, further confirming LIPMAN’S possession and

use of the email account.     During the search of LIPMAN’s

residence, several documents were seized, one of which contained

the writing:   “If I want to put Judge Kimarie Rahill’s head on a

mantle all I need is a photo of her and a picture frame.”

     42.   Notably, during the search of LIPMAN’S residence,

LIPMAN was told that his repeated contacts with the public
officials was likely a violate of federal law.         Specifically, SA


                                       17
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 19 of 21 Page ID #:19



Tomes advised LIPMAN that the communications sent by LIPMAN to

New Jersey public officials were likely a violation of federal

law and that all communications needed to cease.          That

admonishment was recorded.

     43.     Despite this advisement, LIPMAN continued to send

emails to public officials.      On September 21, 2023, LIPMAN sent

6 emails to several recipients including Judge Patti, Chief

Kelly, Judge Rahill, Judge Mabie, Carol Smith, and Erin

Caulfield.
     44.     In one email sent from "jlipman52@gmail.com," titled

"Attention Judge Rocconi (future hunger strike)", LIPMAN wrote

"FUCK YOU MARGO ROCCONNI", "TAKE ME INTO CUSTODY OR I will make

you arrest me for trespassing", and "you can apply time served

to my corpse".

     45.     In another email titled "Manifest, Oh maybe I

shouldn't say that since the government", LIPMAN attached a PDF

document titled "manifest, oh part 11387.pdf".         The PDF document

contains writings to include ”I will make a federal or

California corrections facility finish the knife attack on me

that has never been resolved”, ”I’d like all the governments

involved in violating my constitutional rights in person at

gunpoint“, ”I did search for the address of Kimarie Rahill“, ”I

called kimarie rahills neighbor. I’ve probably called three

neighbors throughout this protest“, ”I believe I searched for

John Pattis address“, among other things.

     46.     These aforementioned quotes sent by LIPMAN show that
LIPMAN admits he has searched for the address of Judge Rahill


                                       18
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 20 of 21 Page ID #:20



and possibly the address of Judge Patti, and that he has called

Judge Rahill’s neighbor.     LIPMAN also admitted that he has sent

government officials “3000” emails and that he will not stop

unless the government admits to violating his rights.           LIPMAN

also admitted to taking the photo of a firearm with the

intention of having red flag laws used against him.

     47.     On September 22, 2023, LIPMAN sent 10 emails from the

email address "jlipman52@gmail.com" to various recipients

including Judge Rahill.
     48.     As of September 22, 2023, New Jersey Court Security

provided me with, and I have reviewed, approximately 400 emails

that LIPMAN sent to public officials between February 1, 2023

and September 22, 2023 using several email addresses including

jlipman52@gmail.com, laceyviolatesconsitution@gmail.com,

rentpoetfraud@gmail.com, and

ocjudgesarecapitalistliars@gmail.com.        A majority of these

emails --- including those referenced above --- contain content

that is threatening, violent, or harassing in nature. In a

majority of these emails and telephone calls, LIPMAN explains in

varying levels of detail how he prays, desires, and wishes for

these New Jersey public officials to die gruesome deaths.

LIPMAN often qualifies his statements by writing that he is not

violent and that these are not actually threats but rather

fantasies.

     As of September 22, 2023, LIPMAN continues to send

threatening or harassing emails to public officials on a regular

basis.   SA Tomes reviewed and confirmed LIPMAN has continued to


                                       19
Case 2:23-cr-00491-FLA Document 1 Filed 09/25/23 Page 21 of 21 Page ID #:21



send emails to New Jersey public officials as of September 22,

2023.

                             V. CONCLUSION
        42.   Based on the foregoing facts and opinions, and on my

training and experience, I believe that there is probable cause

to believe that LIPMAN violated 18 U.S.C. § 875(c): threat by

interstate communication.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
     hone on this ____
telephone            day of
September,
     mber, 2023.
           20
            023
              2 .



HON. STEPHANIE
     STE
      TE
       EPHANIE CHRISTENSEN
UNITED STATES MAGISTRATE JUDGE




                                       20
